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                                  REZA TIRGARI
                                7
                                8                                UNITED STATES DISTRICT COURT
                                9                          SOUTHERN DISTRICT OF CALIFORNIA
                          10
                          11 REZA TIRGARI, an individual,                                    '22CV541 CAB DEB
                                                                                    CASE NO. __________
                          12                        Plaintiff,
                          13                vs.                                     COMPLAINT
                          14 REZA KAZEMIPOUR, an individual;                        DEMAND FOR JURY TRIAL
                             1792 PARTNERS INC., a Delaware
                          15 corporation; 1792 PARTNERS
                             GENERAL PARTNERSHIP; and DOES
                          16 1-100;
                          17                        Defendant.
                          18
                          19
                                            Plaintiff REZA TIRGARI (“Tirgari” or “Plaintiff”) alleges against Defendants
                          20
                                    REZA KAZEMIPOUR (“Defendant Kazemipour”), 1792 PARTNERS, INC.
                          21
                                    (“Defendant 1792”), and 1792 PARTNERS, INC. GENERAL PARTNERSHIP
                          22
                                    (“Defendant 1792GP”) (Defendant Kazemipour, Defendant 1792 and Defendant
                          23
                                    1792GP are collectively referred herein as the “Defendants”) as follows:
                          24
                          25                                                PARTIES
                          26                1.      At all times mentioned herein, Plaintiff was, and is, an individual over
                          27 eighteen years of age and residing in San Diego County, California.
                          28
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                                1           2.      Plaintiff is informed and believes and thereupon alleges that at all times
                                2 herein mentioned, Defendant Kazemipour was, and is, an individual over eighteen
                                3 years of age and doing business in San Diego County, California.
                                4           3.      Plaintiff is informed and believes and thereupon alleges that at all times
                                5 herein mentioned, Defendant 1792 is a California corporation conducting business in
                                6 San Diego County, California.
                                7           4.      Plaintiff is informed and believes and thereupon alleges that at all times
                                8 herein mentioned, Defendant 1792GP is a Delaware limited partnership purportedly
                                9 formed via a Limited Partnership Agreement between Plaintiff, Defendant
                          10 Kazemipour, and Defendant 1792, and conducting business in Santa Clara County,
                          11 California.
                          12                5.      Plaintiff is informed and believes, and based thereon alleges, that there
                          13 exists, and at all times herein mentioned there existed, a unity of interest and
                          14 ownership between Defendant Kazemipour and the Defendants such that any
                          15 individuality and separateness between Defendant Kazemipour and the Defendants
                          16 have ceased. Defendant Kazemipour is the alter ego of Defendants.
                          17                6.      Plaintiff is informed and believes, and based thereon alleges, as an
                          18 example, Defendant Kazemipour has used funds intended for Defendant 1792GP’s
                          19 purpose of investment into startup companies to instead pay for personal goods and
                          20 services such as lavish personal travel and accommodations in Dubai, Abu Dhabi,
                          21 Monaco, Nice, Amsterdam, Las Vegas, Mexico, and the Maldives, among other
                          22 locations. Defendant Kazemipour has consistently utilized funds provided by
                          23 Plaintiff, intended for investment into startup companies as induced by Defendant
                          24 Kazemipour, for Defendant Kazemipour’s own personal gain.
                          25                7.      By Defendant Kazemipour using Defendant 1792GP’s funds in this
                          26 manner, the corporate formalities of Defendant 1792 and Defendant 1792GP have
                          27 been disregarded such that there exists a unity of interest and ownership between
                          28 Defendant Kazemipour, Defendant 1792 and Defendant 1792GP, and no separation
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                                1 between Defendant Kazemipour and Defendant 1792 and Defendant 1792GP
                                2 actually exists.
                                3           8.      The true names and capacities, whether individual, corporate, associate
                                4 or otherwise, of DOES 1 through 100, inclusive, are unknown to Plaintiff, who
                                5 therefore sues these defendants by their fictitious names. Plaintiff is informed and
                                6 believes, and based upon this information and belief alleges, that each of the
                                7 fictitiously named defendants is in some manner responsible for the events and
                                8 happenings herein referred to, either contractually or tortuously, and caused the
                                9 damage to Plaintiff as herein alleged. Plaintiff will amend this Complaint to allege
                          10 the true names and capacities of each of the fictitiously named defendants when
                          11 ascertained.
                          12                                     JURISDICTION AND VENUE
                          13                9.      There is federal question jurisdiction in this case arising under 28 U.S.C.
                          14 § 1331 because as set forth in this Complaint Plaintiff has plead claims arising under
                          15 federal statutes. See 18 U.S.C. §§ 1341, 1343, 1961, 1962, 1964.
                          16                10.     Under 28 U.S.C. § 1391 venue is proper because a substantial part of
                          17 the events and omissions giving rise to the claims occurred within the judicial
                          18 boundaries of this district and the contract which is the subject of this action was
                          19 executed and performed within the judicial boundaries of this district.
                          20                                      GENERAL ALLEGATIONS
                          21                11.     Defendant Kazemipour holds himself out on the internet as a “seasoned
                          22 Senior Executive” with a “deep understanding and experience working on business
                          23 strategies ranging from startups to the boardroom.” Defendant Kazemipour
                          24 represents that his companies have “proven to be a viable environment to raise
                          25 venture capital funds as well as to negotiate multi-billion dollar mergers and
                          26 acquisitions.” Defendant Kazemipour represents that he has “US Naval training”
                          27 which “cultivated his drive, intensity and strategic foresight.” Defendant Kazemipour
                          28 further represents that he is “currently advising companies focusing on artificial
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                                1 intelligence markup language for applications in AI, as well as big data/analytics for
                                2 healthtech, fintech, IOT, and Autonomous Driving solutions.”12
                                3             12.      Defendant Kazemipour has a significant online presence, including on
                                4 LinkedIn and other social media sites, where he holds himself out as a successful
                                5 venture investor and as an international jet-setter. Defendant Kazemipour has styled
                                6 himself as the “Tinder Swindler” of investment fraud based on his habitual false
                                7 representations, parasitic behavior, and theft from Plaintiff.
                                8             13.      In or around the summer of 2018, Plaintiff met Defendant Kazemipour
                                9 at an event at a rooftop bar in San Diego, California. Plaintiff and Defendant
                          10 Kazemipour had mutual interests in starting companies and investing in technology
                          11 companies, and Defendant Kazemipour represented to Plaintiff that he had many
                          12 connections to startup technology companies for early investment with large
                          13 potential returns on investment.
                          14                  14.      Plaintiff and Defendant Kazemipour fast became friends and started
                          15 hanging out in San Diego when Defendant Kazemipour was in town allegedly for
                          16 business. Defendant Kazemipour would stay at Plaintiff’s house when he came to
                          17 San Diego, which over time became more and more frequent.
                          18                  15.      In or around January 2019, Plaintiff discussed with Defendant
                          19 Kazemipour ideas for the development of two software applications, Jojo and
                          20 RentMyStuff (“RMS” or “LYS” or “LMS”).
                          21                  16.      Defendant Kazemipour indicated an interest in helping to develop these
                          22 applications, and stated that he had a team in Colombia that had done work for him
                          23 in the past and could develop the applications cheaper than could be done in the
                          24 United States.
                          25                  17.      The Jojo application in development involves patient referrals to
                          26 medical and dental practices. Defendant Kazemipour further represented to Plaintiff
                          27
                                    1
                                        https://www.karmainternational.com/reza-kazemipour
                          28        2
                                        https://www.blacklabsports.com/team
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                                1 that he had attended dental school and practiced as a dentist for one year before
                                2 changing professions. Defendant Kazemipour stated that he still had contacts in the
                                3 dental field, and would reach out to garner interest in using the application and/or
                                4 investing money in the application. Plaintiff relied upon this representation in
                                5 allowing Defendant Kazemipour to be involved in the application development and
                                6 investment in the same.
                                7           18.     On information and belief, Defendant Kazemipour did not attend dental
                                8 school and did not practice as a dentist for a year as represented.
                                9           19.     On March 5, 2019, Defendant Kazemipour sent to Plaintiff a cost
                          10 estimate from the team in Colombia, UseIt, purportedly to develop the applications.
                          11                20.     In or around April 2019, Defendant Kazemipour asked Plaintiff if
                          12 Plaintiff knew people who might be interested in becoming investors and putting
                          13 money into the applications.
                          14                21.     At the request of Defendant Kazemipour and in furtherance of investing
                          15 money into startup companies as presented by Defendant Kazemipour, Plaintiff
                          16 utilized an open a bank account at Wells Fargo in the name of R2 Ventures, Inc. and
                          17 added Defendant Kazemipour as an account user for ease in investment in these
                          18 startup companies (the “Joint Investment Account”).
                          19                22.     At the request of Defendant Kazemipour and in furtherance of paying
                          20 for expenses related to the investment of money into startup companies, Plaintiff
                          21 opened an American Express credit card account in the name of R2 Ventures and
                          22 added Defendant Kazemipour as an account user for ease in the payment of expenses
                          23 related to the investments in these startup companies (the “Joint Amex Account”).
                          24                23.     On or about July 26, 2019, Defendant Kazemipour sent to Plaintiff via
                          25 email another schedule for purported payments to develop the applications,
                          26 purportedly from the Colombian developers.
                          27                24.     Throughout 2020 and 2021, Defendant Kazemipour utilized his access
                          28 to the Joint Investment Account and the Joint Amex Account to fund his lavish
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                                1 lifestyle: paying for trips to Dubai, United Arab Emirates, the Maldives, Mexico,
                                2 among others, and back; paying for various luxury hotels and luxury cars; and paying
                                3 his own personal expenses at places like Louis Vuitton, Yves Saint Laurent, AT&T,
                                4 Apple, Neiman Marcus, Nordstrom, Safeway, Lululemon, North Face, REI, Soul
                                5 Cycle, etc., and expenses for the benefit of his family, including his daughter’s tuition
                                6 at the University of Colorado – Boulder, among many other expenses; all at the
                                7 expense of Plaintiff, who hoped to use Defendant Kazemipour’s purported status as
                                8 a successful venture investor to help further Plaintiff’s own personal investments.
                                9           25.     The trust Plaintiff placed in Defendant Kazemipour would prove to be
                          10 misplaced, as Defendant Kazemipour spent commingled funds lavishly and unabated
                          11 after specifically (and falsely) representing to Plaintiff that funds invested by Plaintiff
                          12 were to be used for the benefit of the partnership.
                          13                26.     On information and belief, none of the funds that have been deposited
                          14 into the Joint Investment Account by Plaintiff have been used for investment into
                          15 companies and businesses as agreed upon between Plaintiff and Defendant
                          16 Kazemipour (and falsely represented to Plaintiff by Defendant Kazemipour thereby
                          17 inducing Plaintiff to deposit funds into the Joint Investment Account).
                          18                27.     On information and belief, Defendant Kazemipour has never deposited
                          19 any money into the Joint Investment Account to invest in companies as he has
                          20 represented he would, nor has he utilized his own funds to pay the personal expenses
                          21 he incurred on the Joint Amex Account.
                          22                28.     Defendant Kazemipour misappropriated and converted the funds in the
                          23 Joint Investment Account based on a series of lies, and for personal profit at the
                          24 expense of Plaintiff. Plaintiff relied on Defendant Kazemipour’s false representations
                          25 that Defendant Kazemipour would invest the funds into the companies agreed upon.
                          26 Plaintiff relied on Defendant Kazemipour’s false representations that the Joint Amex
                          27 Account would be used for necessary and reasonable business expenses in
                          28 furtherance of the investment partnership. Defendant Kazemipour’s purchase of
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                                1 Louis Vuitton luxury items and travels to exotic places like the Maldives for pleasure,
                                2 where no investment opportunities took place, constituted fraud and far exceeded all
                                3 agreed upon use of investment funds.
                                4                   DEFENDANT KAZEMIPOUR ENGAGES IN A CAMPAIGN OF
                                5                      DECEIT AND FRAUD FOR HIS OWN BENEFIT
                                6           29.      Influenced by Defendant Kazemipour’s purported connection to startup
                                7 companies and in furtherance of investing into those companies, Plaintiff allowed a
                                8 friend of his to invest $100,000.00 into the Joint Investment Account on or about July
                                9 29, 2019 based on Defendant Kazemipour’s false representations that the funds
                          10 would be used for investment purposes.
                          11                30.      That month, Defendant Kazemipour began utilizing Joint Investment
                          12 Account funds for his own personal use, purchasing tickets on Southwest Airlines
                          13 for travel.
                          14                31.      In August 2019, Defendant Kazemipour opened the spigot on this
                          15 account, utilizing the Joint Investment Account funds for personal travel to Palm
                          16 Springs, buying plane tickets on Alaska Air, dining at high-end restaurants, and for
                          17 personal use at Costco Superstore.
                          18                32.      On or about September 6, 2019, Defendant Kazemipour utilized Joint
                          19 Investment Account funds to make a $4,260.00 payment on the Joint Amex Account,
                          20 which was also being utilized for Defendant Kazemipour’s personal expenses and
                          21 travel. This use of the Joint Amex Account was not agreed to by Plaintiff.
                          22                33.      On or about September 16, 2019, Plaintiff caused $25,000.00 to be
                          23 deposited into the Joint Investment Account, a first installment on funds to be utilized
                          24 in the development of two software applications, Jojo and RentMyStuff (hereinafter
                          25 referred to as the “Apps”) based on Defendant Kazemipour’s false representations
                          26 that this money would be invested into Jojo and RentMyStuff.
                          27                34.      Defendant Kazemipour falsely represented to Plaintiff that he had
                          28 software code developers in Colombia who would develop code for the Apps at a
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                                1 much lesser expense than they could find for developers in the United States. Plaintiff
                                2 relied on this false representation to his detriment by investing more money because
                                3 of Defendant Kazemipour’s lie.
                                4           35.     On or about September 16, 2019 and September 17, 2019, Defendant
                                5 Kazemipour utilized Joint Investment Account funds again to pay on the Joint Amex
                                6 Account in the amounts of $50,000.00 and $2,445.04, respectively.
                                7           36.     On or about October 2, 2019, at the request of Defendant Kazemipour,
                                8 Plaintiff deposited $10,000.00 into the Joint Investment Account for further
                                9 development of the Apps.
                          10                37.     On or about October 21, 2019, Defendant Kazemipour utilized Joint
                          11 Investment Account funds to pay the Joint Amex Account in the amount of
                          12 $4,592.69. At no point, did Defendant Kazemipour seek authorization for use of these
                          13 funds or provide proof that these funds were used for agreed upon investment
                          14 purposes.
                          15                38.     On or about November 1, 2019, Plaintiff deposited an additional
                          16 $10,000.00 into the Joint Investment account for further development of the Apps.
                          17                39.     On or about November 13, 2019, Defendant Kazemipour utilized Joint
                          18 Investment Account funds to pay the Joint Amex Account in the amount of
                          19 $1,494.00. At no point, did Defendant Kazemipour seek authorization for use of these
                          20 funds or provide proof that these funds were used for agreed upon investment
                          21 purposes.
                          22                40.     For the remainder of November 2019, Defendant Kazemipour utilized
                          23 Joint Investment Account funds for multiple purchases in Abu Dhabi which were not
                          24 authorized by Plaintiff or Defendant 1792GP. At no point, did Defendant
                          25 Kazemipour seek authorization for use of these funds or provide proof that these
                          26 funds were used for agreed upon investment purposes.
                          27                41.     On or about December 2, 2019, Plaintiff deposited $7,445.00 into the
                          28 Joint Investment Account for payment of expenses related to the Apps and/or
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                                1 purported investments.
                                2           42.     On or about December 4, 2019, Defendant Kazemipour utilized Joint
                                3 Investment Account funds to pay the Joint Amex Account in the amount of
                                4 $12,222.50. At no point did Defendant Kazemipour seek authorization for use of
                                5 these funds or provide proof that these funds were used for agreed upon investment
                                6 purposes.
                                7           43.     On or about December 23, 2019, Defendant Kazemipour utilized Joint
                                8 Investment Account funds to pay the Joint Amex Account in the amount of
                                9 $5,954.76. At no point did Defendant Kazemipour seek authorization for use of these
                          10 funds or provide proof that these funds were used for agreed upon investment
                          11 purposes.
                          12                44.     In January 2020, Defendant Kazemipour continued his lavish spending
                          13 in Abu Dhabi, utilizing approximately $3,000.00 from the Joint Investment Account
                          14 for personal use. At no point did Defendant Kazemipour seek authorization for use
                          15 of these funds or provide proof that these funds were used for agreed upon investment
                          16 purposes.
                          17                45.     On or about January 17, 2020, Defendant Kazemipour utilized Joint
                          18 Investment Account funds to pay the Joint Amex Account in the amount of
                          19 $12,915.05. At no point did Defendant Kazemipour seek authorization for use of
                          20 these funds or provide proof that these funds were used for agreed upon investment
                          21 purposes.
                          22                46.     In February 2020, Defendant Kazemipour continued his lavish spending
                          23 in Abu Dhabi, utilizing thousands of dollars from the Joint Investment Account and
                          24 from the Joint Amex Account.
                          25                47.     On or about February 12, 2020, Defendant Kazemipour utilized Joint
                          26 Investment Account funds to pay the Joint Amex Account in the amount of
                          27 $7,306.62. At no point did Defendant Kazemipour seek authorization for use of these
                          28 funds or provide proof that these funds were used for agreed upon investment
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                                1 purposes.
                                2           48.     On or about February 25, 2020, Defendant Kazemipour withdrew
                                3 $6,000.00 from the Joint Investment Account funds when he visited a Wells Fargo
                                4 banking branch. At no point did Defendant Kazemipour seek authorization for use of
                                5 these funds or provide proof that these funds were used for agreed upon investment
                                6 purposes.
                                7           49.     On or about March 4, 2020, Defendant Kazemipour withdrew $1,000.00
                                8 at a Wells Fargo banking branch in Los Altos, CA. At no point did Defendant
                                9 Kazemipour seek authorization for use of these funds or provide proof that these
                          10 funds were used for agreed upon investment purposes.
                          11                50.     On or about March 4, 2020, Defendant Kazemipour utilized Joint
                          12 Investment Account funds to pay the Joint Amex Account in the amount of
                          13 $11,703.33. At no point did Defendant Kazemipour seek authorization for use of
                          14 these funds or provide proof that these funds were used for agreed upon investment
                          15 purposes.
                          16                51.     On or about March 6, 2020, Plaintiff transferred $50,000.00 into the
                          17 Joint Investment Account because of the false representations of Defendant
                          18 Kazemipour that these funds would be dedicated towards the further development of
                          19 the Apps. This was another lie from Defendant Kazemipour.
                          20                52.     On or about April 2, 2020, Defendant Kazemipour made two
                          21 withdrawals from the Joint Investment Account when he visited a Wells Fargo
                          22 banking branch in the amounts of $2,000.00 and $3,000.00. At no point did
                          23 Defendant Kazemipour seek authorization for use of these funds or provide proof
                          24 that these funds were used for agreed upon investment purposes.
                          25                53.     On or about April 6, 2020, Defendant Kazemipour utilized Joint
                          26 Investment Account funds to pay the Joint Amex Account in the amount of
                          27 $12,739.03. At no point did Defendant Kazemipour seek authorization for use of
                          28 these funds or provide proof that these funds were used for agreed upon investment
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                                1 purposes.
                                2           54.     On or about May 20, 2020, Defendant Kazemipour utilized Joint
                                3 Investment Account funds to pay the Joint Amex Account in the amount of
                                4 $8,987.22. At no point did Defendant Kazemipour seek authorization for use of these
                                5 funds or provide proof that these funds were used for agreed upon investment
                                6 purposes.
                                7           55.     Defendant Kazemipour lied to Plaintiff again on or about June 3, 2020,
                                8 and induced him to deposit another $50,000 into the Joint Investment Account.
                                9 Defendant Kazemipour falsely represented that these funds would be an investment
                          10 that would pay off within a year. Defendant Kazemipour falsely promised Plaintiff
                          11 that he would send detailed paperwork on the utilization of such funds. Defendant
                          12 Kazemipour never provided any documentation that these funds were used for agreed
                          13 upon investment purposes.
                          14                56.     On or about June 4, 2020, Plaintiff transferred $50,000.00 from his
                          15 personal business account into the Joint Investment Account to be used for potential
                          16 investments into startup companies Defendant Kazemipour had presented to Plaintiff
                          17 the previous night. This representation constituted another lie promulgated by
                          18 Defendant Kazemipour inducing Plaintiff to invest additional funds. These funds
                          19 were unlawfully used by Defendant Kazemipour for his personal profit and to the
                          20 detriment of Plaintiff.
                          21                57.     On or about June 17, 2020, Defendant Kazemipour utilized Joint
                          22 Investment Account funds to pay the Joint Amex Account in the amount of
                          23 $6,511.66. At no point did Defendant Kazemipour seek authorization for use of these
                          24 funds or provide proof that these funds were used for agreed upon investment
                          25 purposes.
                          26                58.     On or about June 25, 2020, Plaintiff made two transfers into the Joint
                          27 Investment Account in the amount of $22,000.00 and $26,763.00, respectively, as
                          28 induced by Defendant Kazemipour for further use in investment into various startup
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                                1 companies. Plaintiff made the two transfers based on the false representations from
                                2 Defendant Kazemipour that these funds would be invested. These funds were never
                                3 invested into the agreed upon companies. Instead, these funds were used by
                                4 Defendant Kazemipour for unauthorized personal expenses.
                                5           59.     On or about June 26, 2020, Defendant Kazemipour initiated a wire
                                6 transfer from the Joint Investment Account into a JP Morgan Chase account in the
                                7 amount of $50,000.00 with reference to investment into a company called Stemonix,
                                8 Inc. Defendant Kazemipour never invested this money with Stemonix, and again lied
                                9 to Plaintiff in order to procure funds from Plaintiff.
                          10                60.     On or about July 3, 2020, Defendant Kazemipour initiated a wire
                          11 transfer from the Joint Investment Account to a Citibank, N.A. account with
                          12 reference to Defendant 1792 Partners in the amount of $10,000.00 from the
                          13 Investment Account via wire transfer to a Citibank, N.A. account. At no point did
                          14 Defendant Kazemipour seek authorization for use of these funds or provide proof
                          15 that these funds were used for agreed upon investment purposes.
                          16                61.     On or about July 6, 2020, Defendant Kazemipour withdrew $36,000.00
                          17 from the Joint Investment Account via an in-branch/store withdrawal. At no point
                          18 did Defendant Kazemipour seek authorization for use of these funds or provide proof
                          19 that these funds were used for agreed upon investment purposes.
                          20                62.     On or about July 17, 2020, Defendant Kazemipour utilized Joint
                          21 Investment Account funds to pay the Joint Amex Account in the amount of
                          22 $5,621.67. At no point did Defendant Kazemipour seek authorization for use of these
                          23 funds or provide proof that these funds were used for agreed upon investment
                          24 purposes.
                          25                63.     On or about August 12, 2020, Defendant Kazemipour initiated a
                          26 Business to Business ACH Debit from the Joint Investment Account to the Joint
                          27 Amex Account in the amount of $21,448.97. At no point did Defendant Kazemipour
                          28 seek authorization for use of these funds or provide proof that these funds were used
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                                1 for agreed upon investment purposes.
                                2           64.     In or around early November 2020, Defendant Kazemipour presented to
                                3 Plaintiff Stemonix, Inc. as a possible investment. Defendant Kazemipour took
                                4 Plaintiff to the company’s campus, where Plaintiff met a person who purportedly
                                5 worked for Stemonix. Defendant Kazemipour falsely represented to Plaintiff that
                                6 Stemonix’s technology was disruptive and recommended investment. Defendant
                                7 Kazemipour stated that Plaintiff should put funds into the Joint Investment Account
                                8 and that Defendant Kazemipour would invest that money into Stemonix. Defendant
                                9 Kazemipour never invested the money into Stemonix.
                          10                65.     As a result of Defendant Kazemipour’s inducement, on or about
                          11 November 24, 2020, Plaintiff deposited $85,000.00 into the Joint Investment
                          12 Account which was to be used pursuant to a the verbal agreement with Defendant
                          13 Kazemipour, to invest in Stemonix, Inc. The investment was to be further
                          14 memorialized in a written partnership agreement.
                          15                66.     Throughout November 2020, Defendant Kazemipour utilized Joint
                          16 Investment Account funds and the Joint Amex Account for multiple purchases
                          17 around the world and on the internet; but none of these purchases were agreed to by
                          18 Plaintiff and Defendant Kazemipour.
                          19                67.     Throughout December 2020, Defendant Kazemipour utilized Joint
                          20 Investment Account funds and the Joint Amex Account for multiple purchases in
                          21 Abu Dhabi, Texas, Colorado, San Diego, the San Francisco Bay Area, Los Angeles,
                          22 Dubai, and on the internet, all of which had nothing to do with investing in the agreed
                          23 upon companies. Rather, Defendant Kazemipour frivolously incurred charges for
                          24 personal use.
                          25                68.     On or about December 18, 2020, Defendant Kazemipour utilized Joint
                          26 Investment Account funds to pay the Joint Amex Account in the amount of
                          27 $54,235.71. At no point did Defendant Kazemipour seek authorization for use of
                          28 these funds or provide proof that these funds were used for agreed upon investment
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                                1 purposes.
                                2           69.     On or about January 1, 2021, Defendant Kazemipour presented Plaintiff
                                3 with the “Limited Partnership Agreement of 1792 Partners Inc.” (See Exhibit A;
                                4 hereinafter referred to as the “Stemonix 1792 LP Agreement”), which purported to
                                5 create a Delaware limited partnership between and among Defendant Kazemipour,
                                6 Defendant 1792, and Plaintiff (the “Stemonix 1792 LP”).
                                7           70.     The purpose stated for Stemonix 1792 LP was to “engage in any lawful
                                8 act or activity for which limited partnerships may now or hereafter be organized
                                9 under the laws of the State of Delaware.”
                          10                71.     Defendant Kazemipour represented to Plaintiff that Stemonix 1792 LP
                          11 was being formed to invest their joint venture funds into Stemonix.
                          12                72.     The Stemonix 1792 LP Agreement stated that Defendant 1792 Partners
                          13 Inc. GP would be the general partner and Plaintiff would be an “Organizational
                          14 Limited Partner.” The Stemonix 1792 LP Agreement further stated that the initial
                          15 capital contributions would be $1,200,000 from Defendant 1792 Partners Inc. GP and
                          16 $85,000 from Plaintiff.
                          17                73.     The Stemonix 1792 LP Agreement stated that the “term of the
                          18 Partnership shall commence on the date of the filing of the Certificate of Limited
                          19 Partnership in the Office of the Secretary of State of the State of Delaware…”
                          20                74.     Defendant Kazemipour led Plaintiff to believe that Defendant
                          21 Kazemipour or Defendant 1792 would file the Certificate of Limited Partnership with
                          22 the Office of the Secretary of State of the State of Delaware.
                          23                75.     Defendant Kazemipour and/or Defendant 1792 never filed the
                          24 Certificate of Limited Partnership in the Office of the Secretary of State of the State
                          25 of Delaware pursuant to the Stemonix 1792 LP Agreement.
                          26                76.     On information and belief, neither Defendant 1792 Partners Inc. GP,
                          27 Defendant Kazemipour, nor Defendant 1792 ever invested the Joint Investment
                          28 Account money, or any other funds into Stemonix.
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                                1           77.     Defendant Kazemipour has nonetheless utilized the funds deposited into
                                2 the Joint Investment Account for his own personal use, including, but not limited to,
                                3 travel and accommodations to and from foreign countries.
                                4           78.     On or about January 4, 2021, Defendant Kazemipour utilized the Joint
                                5 Amex Account to pay $6,135.49 to the Colorado University Bursar, purportedly for
                                6 his daughter’s tuition at the university. At no point did Plaintiff authorize this
                                7 payment from the Joint Investment Account or Joint Amex Account.
                                8           79.     On or about January 8, 2021, Plaintiff sent Defendant Kazemipour a text
                                9 message requesting a note for the Stemonix investment but never received a response
                          10 from Defendant Kazemipour, or any proof that agreed upon investments were made
                          11 to Stemonix. Rather, Defendant Kazemipour laundered the funds for personal use.
                          12                80.     On January 20, 2021, Plaintiff told Defendant Kazemipour not to utilize
                          13 the Joint Investment Account or Joint Amex Account funds for his own personal use
                          14 as it would be hard to explain on their taxes, which Defendant Kazemipour
                          15 represented he would file for R2 Ventures, Inc.
                          16                81.     On or about January 20, 2021, Defendant Kazemipour utilized Joint
                          17 Investment Account funds to pay the Joint Amex Account in the amount of
                          18 $17,797.76. At no point did Defendant Kazemipour seek authorization for use of
                          19 these funds or provide proof that these funds were used for agreed upon investment
                          20 purposes.
                          21                82.     In February 2021, Defendant Kazemipour continued to utilize Joint
                          22 Investment Account funds for his personal benefit in Abu Dhabi, but surreptitiously
                          23 hid this usage from Plaintiff and did so on the false premise that the funds from the
                          24 Joint Investment Account were being used for agreed upon investment purposes.
                          25                83.     On or about February 17, 2021, Defendant Kazemipour utilized Joint
                          26 Investment Account funds to pay the Joint Amex Account in the amount of
                          27 $10,000.00. At no point, did Defendant Kazemipour seek authorization for use of
                          28 these funds or provide proof that these funds were used for agreed upon investment
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                                1 purposes.
                                2           84.     On or about March 17, 2021, Defendant Kazemipour utilized the Joint
                                3 Amex Account to pay $25,563.59 to the Colorado University Bursar, purportedly for
                                4 his daughter’s tuition at the university. At no point did Plaintiff authorize this
                                5 payment from the Joint Investment Account or Joint Amex Account.
                                6           85.     On or about April 2021, Plaintiff sent Defendant Kazemipour a text
                                7 regarding repeated calls from American Express due to non-payment on the account.
                                8 Defendant Kazemipour responded that he would take care of it.
                                9           86.     On May 5, 2021, Defendant Kazemipour stated to Plaintiff that he
                          10 needed to borrow money for something and asked Plaintiff for $20,000.00.
                          11 Defendant Kazemipour stated that since Plaintiff allegedly owed him money, he
                          12 requested a lump sum payment from Plaintiff. This was a completely false statement,
                          13 as Defendant Kazemipour lied to Plaintiff to procure the $20,000.00.
                          14                87.     On or about May 5, 2021, Plaintiff deposited $25,000.00 into the Joint
                          15 Investment Account for further investment into the Apps and the $20,000.00 loan to
                          16 Defendant Kazemipour.
                          17                88.     Throughout May 2021, Defendant Kazemipour utilized Joint
                          18 Investment Account funds and the Joint Amex Account to pay for meals at high-end
                          19 restaurants in the Los Angeles area and in Los Altos, CA, in addition to $567.48 at a
                          20 Costco in Colorado, among many other unauthorized purchases, which were not for
                          21 investment purposes.
                          22                89.     On or about May 7, 2021, Defendant Kazemipour initiated a Business
                          23 to Business ACH Debit from the Joint Investment Account to the Joint Amex
                          24 Account in the amount of $5,674.00. At no point did Plaintiff authorize this payment
                          25 from the Joint Investment Account or Joint Amex Account.
                          26                90.     On or about May 18, 2021, Defendant Kazemipour made a withdrawal
                          27 from the Joint Investment Account in the amount of $13,010.00. At no point, did
                          28 Defendant Kazemipour seek authorization for use of these funds or provide proof
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                                1 that these funds were used for agreed upon investment purposes.
                                2           91.     On the same day, Plaintiff discussed with Defendant Kazemipour the
                                3 numerous delays with the development of the Apps, and Defendant Kazemipour’s
                                4 lack of involvement and disinterest in the process. Plaintiff sent a follow up email to
                                5 Defendant Kazemipour and the team in Colombia regarding Plaintiff’s concerns with
                                6 the lack of progress or any evidence that the investment funds had actually been
                                7 invested in the companies that Plaintiff and Defendant Kazemipour agreed to invest
                                8 in.
                                9           92.     In or around June 2021, Defendant Kazemipour represented to Plaintiff
                          10 that additional funds were needed for the development of the Apps. Plaintiff relied
                          11 on this false statement and deposited additional funds into the Joint Investment
                          12 Account.
                          13                93.     On or about June 3, 2021, Plaintiff deposited $25,000.00 into the Joint
                          14 Investment Account from his business checking account for the purpose of
                          15 investment into the Apps, and for no other purpose.
                          16                94.     On or about June 7, 2021, Defendant Kazemipour made a series of
                          17 withdrawals in the amounts of $1,003.00, $19,010.00, and $3,000.00. At no point,
                          18 did Defendant Kazemipour seek authorization for use of these funds or provide proof
                          19 that these funds were used for agreed upon investment purposes. Defendant
                          20 Kazemipour made additional withdrawals on June 14, June 21, June 25, 2021 while
                          21 in Dubai, all in the amount of $571.75. Defendant Kazemipour made an additional
                          22 withdrawal in the amount of $285.88 on June 25, 2021 also while in Dubai. None of
                          23 these funds were utilized for agreed upon investment purposes.
                          24                95.     Throughout the month of June 2021, Defendant Kazemipour utilized
                          25 Joint Investment Account funds and the Joint Amex Account for purchases
                          26 throughout the world, including, but not limited to, for restaurants and hotels in
                          27 Dubai. At no point did Defendant Kazemipour seek authorization for use of these
                          28 funds or provide proof that these funds were used for agreed upon investment
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                                1 purposes.
                                2           96.     On or about June 29, 2021, Defendant Kazemipour initiated payment of
                                3 the Joint Amex Account in the amount of $5,674.00, but the payment was returned
                                4 due to insufficient funds in the Joint Investment Account. At no point did Defendant
                                5 Kazemipour seek authorization for use of these funds or provide proof that these
                                6 funds were used for agreed upon investment purposes.
                                7           97.     On or about July 1, 2021 and July 6, 2021, Defendant Kazemipour
                                8 initiated payment of the Joint Amex Account both in the amount of $5,674.00, but
                                9 the payments were returned due to insufficient funds. At no point did Defendant
                          10 Kazemipour seek authorization for use of these funds or provide proof that these
                          11 funds were used for agreed upon investment purposes.
                          12                98.     On or about July 6, 2021, Defendant Kazemipour presented Plaintiff
                          13 with an opportunity to invest $350,000.00 in a company called Helm.ai, Inc.
                          14 (“Helm”). Defendant Kazemipour represented that the company was working on
                          15 driverless cars and was incredibly promising. Defendant Kazemipour noted that he
                          16 had put in $600,000 of his own money into Helm and asked Plaintiff if he wanted to
                          17 invest. Noting Defendant Kazemipour’s purported expertise in AI and self-driving
                          18 technology, Plaintiff agreed to invest based on Defendant Kazemipour’s false
                          19 promises. Plaintiff put the money into the Joint Investment Account with the intent
                          20 that Defendant Kazemipour would invest the money into Helm, and for no other
                          21 purpose.
                          22                99.     On or about July 6, 2021, Plaintiff deposited $220,000.00 into the Joint
                          23 Investment Account, with $20,000.00 to be used as a personal loan to Defendant
                          24 Kazemipour, and $200,000.00 to be used by Defendant 1792GP to invest in Helm.
                          25                100. Throughout the month of July 2021, Defendant Kazemipour utilized the
                          26 Joint Investment Account funds and the Joint Amex Account for various personal
                          27 purchases, including in Los Altos, California; Coronado, California; Boulder,
                          28 Colorado; San Diego, California; Costa Mesa, California; and Santa Ana, California.
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                                1 None of these fraudulent purchases were in furtherance of the agreed upon
                                2 investment purposes.
                                3           101. On or about July 8, 2021, Defendant Kazemipour initiated an ACH
                                4 Debit payment from the Joint Investment Account to the Joint Amex Account in the
                                5 amount of $5,674.00. At no point did Defendant Kazemipour seek authorization for
                                6 use of use of these funds or provide proof that these funds were used for agreed upon
                                7 investment purposes.
                                8           102. On or about July 19, 2021, Defendant Kazemipour made two
                                9 withdrawals from the Joint Investment Account in the amounts of $75,000.00 and
                          10 $8,400.00. At no point did Defendant Kazemipour seek authorization for use of these
                          11 funds or provide proof that these funds were used for agreed upon investment
                          12 purposes.
                          13                103. On or about July 22, 2021, Plaintiff requested a formal note from
                          14 Defendant Kazemipour for the previous investments, and requested a specific note
                          15 for the Helm investment. Defendant Kazemipour failed to provide the requested
                          16 documentation in order to conceal his fraudulent conduct.
                          17                104. On or about July 28, 2021, Defendant Kazemipour initiated an ACH
                          18 Debit payment from the Joint Investment Account to the Joint Amex Account in the
                          19 amount of $5,674.00. At no point did Defendant Kazemipour seek authorization for
                          20 use of these funds or provide proof that these funds were used for agreed upon
                          21 investment purposes.
                          22                105. On or about August 3, 2021, Defendant Kazemipour made a withdrawal
                          23 from the Joint Investment Account in the amount of $50,000.00. At no point did
                          24 Defendant Kazemipour seek authorization for use of these funds or provide proof
                          25 that these funds were used for agreed upon investment purposes.
                          26                106. Throughout August 2021, Defendant Kazemipour utilized the Joint
                          27 Investment Account funds and the Joint Amex Account for various personal
                          28 expenses, including in or around the Los Angeles, California area. At no point, did
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                                1 Defendant Kazemipour seek authorization for use of these funds or provide proof
                                2 that these funds were used for agreed upon investment purposes.
                                3           107. On or about August 13, 2021, after Plaintiff’s numerous complaints that
                                4 the Apps were going nowhere, Defendant Kazemipour introduced Plaintiff to a
                                5 company called Thinglogix, a project management team. Thinglogix was never
                                6 engaged for work by Plaintiff or Defendant Kazemipour.
                                7           108. On or about August 27, 2021, Defendant Kazemipour made a
                                8 withdrawal from the Joint Investment Account in the amount of $3,000.00. At no
                                9 point did Defendant Kazemipour seek authorization for use of these funds or provide
                          10 proof that these funds were used for agreed upon investment purposes.
                          11                109. On or about August 30, 2021, Defendant Kazemipour initiated an ACH
                          12 Debit payment from the Joint Investment Account to the Joint Amex Account in the
                          13 amount of $5,674.00. At no point, did Defendant Kazemipour seek authorization for
                          14 use of these funds or provide proof that these funds were used for agreed upon
                          15 investment purposes.
                          16                110. In or around August 2021, Defendant Kazemipour falsely represented
                          17 to Plaintiff that Helm had further novel AI technology for cars. Defendant
                          18 Kazemipour induced Plaintiff to invest more money into Helm, based on this false
                          19 representation to the tune of $150,000.00. Plaintiff agreed to put the additional funds
                          20 into the Joint Investment Account because of Defendant Kazemipour’s false
                          21 representation.
                          22                111. On or about September 7, 2021, Defendant Kazemipour made an ATM
                          23 withdrawal from the Joint Investment Account in the amount of $1,006.99. At no
                          24 point did Defendant Kazemipour seek authorization for use of these funds or provide
                          25 proof that these funds were used for agreed upon investment purposes.
                          26                112. On or about September 8, 2021, Plaintiff received investment
                          27 paperwork for the Helm investment from Defendant Kazemipour. Plaintiff requested
                          28 that the paperwork specifically state that the funds would be used to invest in Helm.
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                                1           113. Throughout the month of September 2021, Defendant Kazemipour
                                2 utilized the Joint Investment Account funds and the Joint Amex Account for various
                                3 unauthorized personal purchases, including, but not limited to, meals, flights and
                                4 hotels in Las Vegas, Los Angeles, West Hollywood, Dubai, Amsterdam, Abu Dhabi,
                                5 Nice, and Monaco.
                                6           114. On or about September 28, 2021, Defendant Kazemipour initiated an
                                7 ACH Debit payment from the Joint Investment Account to the Joint Amex Account
                                8 in the amount of $5,674.00. At no point did Defendant Kazemipour seek
                                9 authorization for use of these funds or provide proof that these funds were used for
                          10 agreed upon investment purposes.
                          11                115. On or about October 1, 2021, Defendant Kazemipour withdrew
                          12 $25,000.00 from the Joint Investment Account via wire transfer to a Citibank, N.A.
                          13 account with a reference to Defendant 1792 Partners. At no point did Defendant
                          14 Kazemipour seek authorization for use of these funds or provide proof that these
                          15 funds were used for agreed upon investment purposes.
                          16                116. Throughout the month of October 2021, Defendant Kazemipour
                          17 continued to utilize the Joint Investment Account funds and Joint Amex Account for
                          18 various purchases, including, but not limited to, meals, flights and hotels in
                          19 Amsterdam, Dubai, and Abu Dhabi. At no point did Defendant Kazemipour seek
                          20 authorization for use of these funds or provide proof that these funds were used for
                          21 agreed upon investment purposes.
                          22                117. On or about October 15, 2021, Plaintiff confronted Defendant
                          23 Kazemipour regarding Defendant Kazemipour’s dishonest statements concerning
                          24 investment in the Apps, the lack of providing requested (or any) documentation for
                          25 the investments in the Apps and startup investments, as well as repeated unpaid traffic
                          26 citations that arrived at Plaintiff’s house for Defendant Kazemipour’s vehicle.
                          27                118. On or about October 20, 2021, Plaintiff emailed Defendant Kazemipour
                          28 regarding the lack of documentation and continued use of company funds for
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                                1 Defendant Kazemipour’s personal expenses.
                                2           119. On or about October 28, 2021, Defendant Kazemipour initiated an ACH
                                3 Debit payment from the Joint Investment Account to the Joint Amex Account in the
                                4 amount of $5,674.00. At no point did Defendant Kazemipour seek authorization for
                                5 use of these funds or provide proof that these funds were used for agreed upon
                                6 investment purposes.
                                7           120. Throughout the month of November 2021, Defendant Kazemipour
                                8 continued to utilize the Joint Investment Account funds and the Joint Amex Account
                                9 for various purchases, including but not limited to meals, flights and hotels in and
                          10 around Los Angeles and the San Francisco Bay Area. At no point did Defendant
                          11 Kazemipour seek authorization for use of these funds or provide proof that these
                          12 funds were used for agreed upon investment purposes.
                          13                121. On or about November 19, 2021, Defendant Kazemipour contacted
                          14 Plaintiff through telephone. After an extensive talk, Defendant Kazemipour falsely
                          15 stated that Helm is “going public soon” and that Plaintiff was investing heavily into
                          16 Helm. Defendant Kazemipour asked Plaintiff if he wanted a “quick return” and
                          17 suggested that Plaintiff invest more money.
                          18                122. On or about November 19, 2021, based on Kazmipour’s false
                          19 representations, Plaintiff deposited $150,000.00 into the Joint Investment Account as
                          20 a part of the $350,000.00 purportedly to be used by Defendant 1792GP to invest in
                          21 Helm.
                          22                123. On or about November 19, 2021, Defendant Kazemipour presented
                          23 Plaintiff with the Limited Partnership Agreement of Defendant 1792 Partners, Inc.
                          24 (See Exhibit B; hereinafter referred to as the “Helm LP Agreement”), which
                          25 purported to create a Delaware limited partnership between and among Plaintiff,
                          26 Defendant Kazemipour, and Defendant 1792 called 1792 Partners Inc. GP.
                          27                124. The purpose stated in the Helm LP Agreement was to “engage in any
                          28 lawful act or activity for which limited partnerships may now or hereafter be
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                                1 organized under the laws of the State of Delaware.”
                                2           125. The Helm LP Agreement further stated that the specific “Deal” for the
                                3 partnership was to invest $350,000.00 in a company called Helm.
                                4           126. The Helm LP Agreement stated that Defendant 1792GP would be the
                                5 general partner and Plaintiff would be an “Organizational Limited Partner.” The
                                6 Helm LP Agreement further stated that the initial capital contributions would be
                                7 $600,000 from Defendant 1792 Partners Inc. GP and $350,000 from Plaintiff.
                                8           127. Defendant Kazemipour signed the Helm LP Agreement as Managing
                                9 Director of 1792 Partners Inc. GP.
                          10                128. Despite Defendant Kazemipour, Defendant 1792 and Defendant
                          11 1792GP’s representations, the Helm LP Agreement was never filed in the State of
                          12 Delaware, Defendant 1792 Partners Inc. GP was never formed as a limited
                          13 partnership in Delaware, and the partnership never invested $350,000.00 from the
                          14 Joint Investment Account in Helm. The entire agreement proved to be a sham and
                          15 based on fraud.
                          16                129. On or about November 29, 2021, Defendant Kazemipour initiated an
                          17 ACH Debit payment from the Joint Investment Account to the Joint Amex Account
                          18 in the amount of $5,674.00. At no point, did Defendant Kazemipour seek
                          19 authorization for use of these funds or provide proof that these funds were used for
                          20 agreed upon investment purposes.
                          21                130. On or about December 1, 2021, Defendant Kazemipour made two
                          22 withdrawals from the Joint Investment Account in the amounts of $50,010.00 and
                          23 $5,000.00. At no point, did Defendant Kazemipour seek authorization for use of these
                          24 funds or provide proof that these funds were used for agreed upon investment
                          25 purposes.
                          26                131. Throughout December 2021, Defendant Kazemipour continued to
                          27 utilize the Joint Investment Account funds and Joint Amex Account for various
                          28 unauthorized personal purchases, including, but not limited to, meals, flights and
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                                1 hotels in and around Los Angeles and Dubai. Additionally, Defendant Kazemipour
                                2 made an ATM Withdrawal in Dubai in the amount of $857.69, and purchased Apple
                                3 Cash in the amount of $600. At no point, did Defendant Kazemipour seek
                                4 authorization for use of these funds or provide proof that these funds were used for
                                5 agreed upon investment purposes.
                                6           132. In or around December 2021, Plaintiff demanded financials for the
                                7 various investments, including profit and loss statements, cash flow statements and
                                8 detailed financials for the Apps, Stemonix and Helm. Plaintiff also confronted
                                9 Defendant Kazemipour again regarding the personal use of funds and over drafting
                          10 of the Joint Investment Account. Tellingly, Defendant Kazemipour never provided
                          11 any audited or official financials or any of the requested documents.
                          12                133. On or about December 29 and December 31, 2021, and again on or about
                          13 January 4, 2022 and January 31, 2022, Defendant Kazemipour attempted to initiate
                          14 an ACH Debit payment from the Joint Investment Account to the Joint Amex
                          15 Account, each time in the amount of $5,674.00. Each payment was returned due to
                          16 insufficient funds. At no point did Defendant Kazemipour seek authorization for use
                          17 of these funds or provide proof that these funds were used for agreed upon investment
                          18 purposes.
                          19                134. On or about January 3, 2022, Plaintiff again requested financials for the
                          20 investments from Defendant Kazemipour. No response was received.
                          21                135. On or about January 13, 2022, Plaintiff emailed Defendant Kazemipour
                          22 regarding the overdrafts, international fees, and Joint Amex Account charges.
                          23                136. On or about January 25, 2022, Plaintiff confronted Defendant
                          24 Kazemipour regarding the latest of many unpaid traffic citations, which were sent to
                          25 Plaintiff’s house.
                          26                137. On or about January 28, 2022, Plaintiff confronted Defendant
                          27 Kazemipour via email again regarding the overdraft notices and financial
                          28 irregularities.
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                                1           138. In or around late January 2022, Plaintiff contacted the CEO of Helm
                                2 directly and spoke with him on the phone. The CEO of Helm mentioned that he knew
                                3 of Defendant Kazemipour, but that he only accepted institutional investors and that
                                4 no other investments had been made in the company. He denied any financial
                                5 investment from Defendant Kazemipour or 1792 Partners, Inc.. This confirmed
                                6 Defendant Kazemipour’s fraudulent conduct.
                                7           139. On or about February 1, 2022, Plaintiff met Defendant Kazemipour at a
                                8 restaurant to confront him regarding all of the issues and to demand repayment.
                                9 Defendant Kazemipour denied any wrongdoing and stated that he had an underlying
                          10 business plan for all the investments. Defendant Kazemipour promised at that time
                          11 that he would provide full documentation of all expenses and investments. No such
                          12 documentation has been produced by Defendant Kazemipour, evidencing further lies
                          13 from Defendant Kazemipour.
                          14                140. In total, Plaintiff deposited $657,445.00 into the Joint Investment
                          15 Account based on, what proved to be, the repeated false and fraudulent
                          16 representations from Defendant Kazemipour and Defendant 1792. Plaintiff’s sole
                          17 intention with investing funds into the Joint Investment Account was to invest those
                          18 funds into lucrative startup company investments based on Defendant Kazemipour’s
                          19 experience, expertise, purported reputation, statements and conduct.
                          20                141. Plaintiff relied upon Defendant Kazemipour and Defendant 1792 in
                          21 their representations as successful venture capital investors (a false representation in
                          22 and of itself), foregoing other investment opportunities and interest on the Joint
                          23 Investment Account funds for the opportunity to invest with a purportedly successful
                          24 venture capital investor.
                          25                142. Defendant Kazemipour holds himself out to the startup community as a
                          26 proven Silicon Valley entrepreneur and Wall Street investor with a decades-long
                          27 track record. This is a lie.
                          28                143. Defendant Kazemipour, Defendant 1792 and Defendant 1792GP failed
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                                1 to follow through on their promises to invest Plaintiff’s money in companies as
                                2 represented by Defendants, with $0 invested in the Apps nor any of the other
                                3 investment opportunities presented by Defendants to Plaintiff.
                                4           144. On information and belief, Defendants have failed to file the appropriate
                                5 filings with the State of Delaware to formalize the partnerships, have failed to pay
                                6 taxes on the businesses despite representing that they would do so, and have taken
                                7 Plaintiff’s money for their own illicit purposes, in contradiction to the partnership
                                8 agreements and in violation of multiple laws.
                                9           145. Defendants utilized modes of interstate commerce to carry out the
                          10 essential parts of their scheme of fraudulent conduct by communicating with Plaintiff
                          11 through wires and withdrawing funds for improper purposes through wires.
                          12 Defendant Kazemipour fraudulently used wires through the unlawful enterprise of
                          13 Defendant 1792. Defendant 1972 had knowledge of Defendant Kazemipour’s
                          14 fraudulent use of wires for Defendant Kazemipour’s self-benefit.
                          15                146. Defendant Kazemipour as a purported investment advisor and fiduciary
                          16 business partner to Plaintiff had a duty to disclose material facts to Plaintiff about the
                          17 intended use of the transactions from the Joint Investment Account and Joint Amex
                          18 Account. Defendant Kzeminpour failed to disclose his true intentions and use of both
                          19 the Joint Investment Account and the Joint Amex Account. Defendant
                          20 Kazeminpour’s true intentions were to deceive Plaintiff and personally benefit from
                          21 the funds in the Joint Investment Account through luxury purchases and extravagant
                          22 travel, rather than investing the funds and use of the Joint Amex Account directed to
                          23 the investment purposes agreed upon by Plaintiff and Defendant Kazemipour.
                          24                                    FIRST CAUSE OF ACTION
                          25                                         Breach of Contract
                          26                                      (Against All Defendants)
                          27                147. Plaintiff repeats and realleges all of the allegations contained in
                          28 Paragraphs 1 through 146, inclusive, of his Complaint and by reference thereto
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                                1 incorporates them herein as though set forth in full.
                                2           148. Plaintiff and Defendants entered into the Stemonix 1792 LP Agreement
                                3 and the Helm LP Agreement, to carry on a business, specifically, to set up limited
                                4 partnerships to invest money in Stemonix, Inc. and Helm.ai, Inc., respectively.
                                5 Copies of the agreements are attached hereto as Exhibits A and B and incorporated
                                6 herein by reference.
                                7           149. Plaintiff agreed to contribute money to each of the partnerships and
                                8 Defendants Kazemipour and Defendant 1792 agreed to contribute money to each of
                                9 the partnerships as well.
                          10                150. Defendants agreed to utilize their connections to various companies in
                          11 order to invest partnership funds in those companies.
                          12                151. Defendants agreed to file the required documents with various
                          13 government entities to formalize the partnership agreements.
                          14                152. Plaintiff has performed all conditions, covenants, and promises required
                          15 to be performed on his part of the partnership agreements in accordance with the
                          16 terms and conditions of each agreement.
                          17                153. Defendants Kazemipour, Defendant 1792 and Defendant 1792GP
                          18 breached the agreements by failing to contribute money to the partnerships as stated
                          19 in the agreements; failing to utilize the funds Plaintiff contributed to the partnerships
                          20 to invest in the stated investment objective of each partnership; failing to file the
                          21 required Certificates of Limited Partnership with the State of Delaware as required
                          22 under the partnership agreements; utilizing partnership funds, Plaintiff’s
                          23 contributions, for their own personal expenses rather than for the partnership
                          24 purposes; and by converting partnership assets for their own use.
                          25                154. As a direct and proximate result of the Defendants’ breaches of the
                          26 partnership agreements, Plaintiff suffered damage in that he contributed money to
                          27 the partnership for the purpose of investing those funds in various companies, but
                          28 Defendants utilized those funds for their own use. Plaintiff also lost profits and
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                                1 interest that would have been earned by the partnership or individually without
                                2 investing in the partnerships, and but for defendant’s breach, in a sum to be proven
                                3 at trial.
                                4                             SECOND CAUSE OF ACTION
                                5                                Breach of Fiduciary Duties
                                6             (Delaware Revised Uniform Partnership Act sect. 15-404 et seq.)
                                7                                 (Against All Defendants)
                                8           155. Plaintiff repeats and realleges all of the allegations contained in
                                9 Paragraphs 1 through 154, inclusive, of his Complaint and by reference thereto
                          10 incorporates them herein as though set forth in full.
                          11                156. Under the Delaware Revised Uniform Partnership Act, section 15-404,
                          12 partners owe the duty of loyalty and duty of care to the partnership and other partners.
                          13                157. Partners have a duty to account to the partnership and hold as trustee for
                          14 it any property, profit, or benefit derived by the partner in the conduct of the
                          15 partnership business or affairs or derived from a use by the partner of partnership
                          16 property, including the appropriation of a partnership opportunity.
                          17                158. Partners have a duty to refrain from dealing with the partnership in the
                          18 conduct of the partnership business or affairs as or on behalf of a party having an
                          19 interest adverse to the partnership.
                          20                159. Partners have a duty of care to the partnership and the other partners in
                          21 the conduct of the partnership business or affairs to refrain from engaging in grossly
                          22 negligent or reckless conduct, intentional misconduct, or a knowing violation of law.
                          23                160. By intentionally converting partnership assets for their own personal
                          24 use; failing to abide by the terms of the partnership agreements; failing to account to
                          25 Plaintiff in regard to conduct of partnership business; failing to refrain from taking
                          26 an adverse interest to Plaintiff in the use of Plaintiff’s funds for their own personal
                          27 use and not the partnerships’; and engaging in grossly negligent, reckless and
                          28 intentional misconduct by utilizing Plaintiff’s and the partnerships’ funds for their
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                                1 own personal use; Defendants Kazemipour, Defendant 1792 and Defendant 1792GP
                                2 have breached their duties of loyalty and care to the partnerships and to Plaintiff.
                                3           161. As a direct and proximate result of the Defendants’ breaches of their
                                4 duties of loyalty and care to the partnerships and to Plaintiff, Plaintiff suffered
                                5 damages in that he contributed money to the partnerships’ businesses which were
                                6 converted by Defendants for their own purposes, and Plaintiff also lost profits that
                                7 would have been earned by the partnership but for Defendants’ breach, in a sum to
                                8 be proven at trial.
                                9                             THIRD CAUSE OF ACTION
                          10                                         Fraud and Deceit
                          11                                     (Against All Defendants)
                          12                162. Plaintiff repeats and realleges all of the allegations contained in
                          13 Paragraphs 1 through 161, inclusive, of his Complaint and by reference thereto
                          14 incorporates them herein as though set forth in full.
                          15                163. Defendants Kazemipour, Defendant 1792 and Defendant 1792GP
                          16 promised Plaintiff that they would invest Plaintiff’s funds with them in various
                          17 companies and in the development of software applications.
                          18                164. Defendants Kazemipour and Defendant 1792 opened a bank account
                          19 and a credit card account for the purpose of operating partnerships for the purpose of
                          20 investing Plaintiff’s and Defendants’ funds in various companies and in the
                          21 development of software applications.
                          22                165. Plaintiff relied upon Defendant Kazemipour and Defendant 1792’s
                          23 purported expertise and experience in the venture capital sphere, and upon Defendant
                          24 Kazemipour’s statements that he would marshal the funds in good faith to invest in
                          25 various companies and in the development of software applications.
                          26                166. At the time the Defendants made the above referenced promises to
                          27 Plaintiff, the Defendants had no intention of performing on these promises.
                          28                167. At the time the Defendants made the above referenced promises to
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                                1 Plaintiff, the Defendants intended to convert Plaintiff’s funds for their own benefit
                                2 and use.
                                3           168. The promises were made by the Defendants with the intent to induce
                                4 Plaintiff to allow Defendants access to Plaintiff’s funds, and to convert Plaintiff’s
                                5 funds for their own benefit and use.
                                6           169. Plaintiff, at the time this promise was made and at the time the Plaintiff
                                7 took the actions herein alleged, was ignorant of the Defendants’ secret and malicious
                                8 intentions not to perform and justifiably relied upon the Defendants’ promises based
                                9 upon the Defendants’ purported expertise and experience in venture capital investing.
                          10 Plaintiff could not, in the exercise of reasonable diligence, have discovered the
                          11 Defendants’ secret and malicious intention.
                          12                170. In reliance on the promise of the Defendants, Plaintiff deposited money
                          13 into a joint bank account for use by Plaintiff and Defendants to invest in various
                          14 startup companies, as directed by Defendants.
                          15                171. If Plaintiff had known of the actual intention of the Defendants, Plaintiff
                          16 would not have taken such actions.
                          17                172.    The Defendants failed to abide by their promises by utilizing Plaintiff’s
                          18 funds placed into the joint bank account for their own personal use, among other
                          19 actions and/or inactions as stated herein.
                          20                173. As a direct and proximate result of the Defendants’ actions and/or
                          21 inactions and the facts alleged in this complaint, Plaintiff was induced to, and did,
                          22 contribute money to the partnership which Defendants converted for their own
                          23 personal use, damaging Plaintiff in an amount to be proven at trial.
                          24                                   FOURTH CAUSE OF ACTION
                          25                                          Constructive Fraud
                          26                                       (Against All Defendants)
                          27                174. Plaintiff repeats and realleges all of the allegations contained in
                          28 Paragraphs 1 through 173, inclusive, of his Complaint and by reference thereto
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                                1 incorporates them herein as though set forth in full.
                                2           175. By virtue of the partnership agreements, the relationship between
                                3 Plaintiff and Defendants was fiduciary in nature.
                                4           176. Defendants thereby owed Plaintiff the fiduciary duties of loyalty and
                                5 care, and the obligation to conduct the partnership business in good faith and in fair
                                6 dealing.
                                7           177. Because Plaintiff’s confidence in the Defendants’ integrity caused
                                8 Plaintiff to entrust the Defendants with the authority to act for the partnership, a
                                9 confidential relationship existed at all times herein mentioned between Plaintiff and
                          10 the Defendants.
                          11                178. Defendants breached their fiduciary duties to Plaintiff and violated the
                          12 relationship of trust and confidence by excluding Plaintiff from his interests in the
                          13 partnerships’ business and assets and by securing an advantage over Plaintiff by
                          14 misleading Plaintiff to his prejudice.
                          15                179. Plaintiff placed confidence in and relied on Defendants until on or about
                          16 December 13, 2021, when Plaintiff discovered Defendants’ acts committed in breach
                          17 of their fiduciary duties. Until that date, Plaintiff had reasonably relied on the
                          18 Defendants in view of their relationship as partners under the partnership agreements.
                          19                180. As a direct and proximate result of Defendants’ fraud as herein alleged,
                          20 Plaintiff has been damaged in an amount to be proven at trial.
                          21                                   FIFTH CAUSE OF ACTION
                          22                                   Intentional Misrepresentation
                          23                                      (Against All Defendants)
                          24                181. Plaintiff repeats and realleges all of the allegations contained in
                          25 Paragraphs 1 through 180, inclusive, of his Complaint and by reference thereto
                          26 incorporates them herein as though set forth in full.
                          27                182. From approximately July 2019 to December 2021 and ongoing,
                          28 Defendants negligently misrepresented to Plaintiff that they would invest Plaintiff’s
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                                1 money in various companies and in the development of the Apps; however, each
                                2 representation that Defendants made was, in fact, false.
                                3           183. Defendants knew at the time they made these representations that
                                4 Defendants would utilize Plaintiff’s funds for their own benefit, despite their
                                5 representations that they would invest those funds according to their expertise in
                                6 venture investing.
                                7           184. Plaintiff is informed and believes and thereon alleges, that Defendants
                                8 fraudulently induced Plaintiff to open joint bank and credit card accounts with
                                9 Defendants in order to steal funds from Plaintiff.
                          10                185. Defendants represented to Plaintiff that they had connections with
                          11 various startup companies and would invest Plaintiff’s funds along with their own
                          12 with the intent to induce Plaintiff to allow Defendants access to Plaintiff’s funds with
                          13 the intent to defraud and deceive Plaintiff, and for the express purpose of obtaining a
                          14 secret profit from Plaintiff in an amount exceeding the jurisdictional limits of this
                          15 Court.
                          16                186. Plaintiff, in reliance on Defendants’ representations, allowed
                          17 Defendants access to joint bank and credit card accounts, and deposited funds into
                          18 the account for use in investing in companies.
                          19                187. If it had not been for the representations by Defendants and if Plaintiff
                          20 had known the true facts, Plaintiff would not have allowed Defendants access to his
                          21 accounts and money.
                          22                188. By reason of the fraud and deceit of Defendants, and each of them,
                          23 Plaintiff was damaged in an amount exceeding the jurisdictional limits of this Court.
                          24                189. The aforementioned conduct of the Defendant was an intentional
                          25 misrepresentation, deceit, or concealment of a material fact known to Defendants
                          26 with the intention on the part of the Defendants of thereby depriving Plaintiff of
                          27 property or legal rights or otherwise causing injury, and was despicable conduct that
                          28 subjected Plaintiff to a cruel and unjust hardship in conscious disregard of Plaintiff’s
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                                1 rights, so as to justify an award of exemplary and punitive damages in an amount to
                                2 be proven at trial.
                                3                              SIXTH CAUSE OF ACTION
                                4                                        Conversion
                                5                                 (Against All Defendants)
                                6           190. Plaintiff repeats and realleges all of the allegations contained in
                                7 Paragraphs 1 through 189, inclusive, of his Complaint and by reference thereto
                                8 incorporates them herein as though set forth in full.
                                9           191. Defendants intentionally misrepresented that they were experienced
                          10 venture capital investors and would invest Plaintiff’s funds in startup companies that
                          11 Defendants believed to be worthy of investment based upon their expertise in venture
                          12 capital investing.
                          13                192. Plaintiff is informed and believes and thereon alleges, that Defendants
                          14 made these representations fraudulently for the purpose of gaining access to
                          15 Plaintiff’s considerable funds.
                          16                193. In reliance on Defendants’ misrepresentations, Plaintiff transferred
                          17 funds totaling in excess of amount of $650,000.00 to a joint bank account, which
                          18 were then utilized by Defendants for their own personal use.
                          19                194. Had Plaintiff known the actual facts, Plaintiff would not have taken such
                          20 action. Plaintiff’s reliance on Defendants’ misrepresentations were justified because
                          21 Plaintiff believed Defendants in good faith.
                          22                195. As a proximate result of the fraudulent conduct of the Defendants as
                          23 herein alleged, Plaintiff is informed and believes, and based thereon alleges that
                          24 approximately $650,000.00 of the monies transferred to Defendants was fraudulently
                          25 used for Defendants’ own personal use.
                          26                196. Defendants took the property described above from Plaintiff’s
                          27 possession and converted the same to Defendants’ own use. As a result, Plaintiff has
                          28 been damaged in an amount to be proven at trial, which amount is believed to exceed
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                                1 the jurisdictional limits of this Court.
                                2           197. At all times mentioned herein, and in particular upon payment of monies
                                3 to Defendants, Plaintiff was, and still is, the owner of and was, and still is, entitled to
                                4 possession of the monies fraudulently obtained by Defendants.
                                5           198. Defendants’ acts alleged above were willful, wanton, malicious, and
                                6 oppressive, and were taken with the intent to defraud Plaintiff, and justify the
                                7 awarding of exemplary and punitive damages to Plaintiff.
                                8                                SEVENTH CAUSE OF ACTION
                                9                   Unfair Business Practices (Bus. & Prof. Code, §17200 et seq.)
                          10                                          (Against All Defendants)
                          11                199. Plaintiff repeats and realleges all of the allegations contained in
                          12 Paragraphs 1 through 198, inclusive, of his Complaint and by reference thereto
                          13 incorporates them herein as though set forth in full.
                          14                200. Defendants have engaged in unlawful, unfair or fraudulent business acts
                          15 and practices within the meaning of section 17200 et seq. of the California Business
                          16 and Professions Code.
                          17                201. Defendants, through their agent, Defendant Kazemipour, negligently
                          18 misrepresented that they would invest Plaintiff’s funds in various companies and in
                          19 the development of the Apps.
                          20                202. Plaintiff is informed and believes and thereon alleges, that Defendants
                          21 fraudulently represented that they would invest Plaintiff’s funds and induced Plaintiff
                          22 to allow them access to Plaintiff’s bank account and credit card account for the
                          23 purpose of converting Plaintiff’s funds for their own use.
                          24                203. The Defendants’ actions or practices offend an established public policy
                          25 and/or were unlawful, immoral, unethical, oppressive, unscrupulous or substantially
                          26 injurious to Plaintiff.
                          27                204. Plaintiff is entitled to relief, including full restitution and/or
                          28 disgorgement of all revenues, earnings, profits, compensation and benefits, which
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                                1 may have been obtained by Defendants as a result of such unlawful business acts or
                                2 practices, and to enjoin Defendants to cease and desist from engaging in the practices
                                3 described herein, as against Plaintiff and any other member of the public.
                                4           205. As a result of Defendants’ unfair and unlawful business practices,
                                5 Plaintiff has been damaged in an amount to be proven at trial, which amount exceeds
                                6 the jurisdictional limits of this Court.
                                7                             EIGHTH CAUSE OF ACTION
                                8                                       Accounting
                                9                                (Against All Defendants)
                          10                206. Plaintiff repeats and realleges all of the allegations contained in
                          11 Paragraphs 1 through 205, inclusive, of his Complaint and by reference thereto
                          12 incorporates them herein as though set forth in full.
                          13                207. Plaintiff is informed and believes, and based thereon alleges that
                          14 Defendants have received money as a result of their misconduct, at Plaintiff’s
                          15 expense, and that some or all of such money is rightfully due to Plaintiff.
                          16                208. The amount of money due from Defendants to Plaintiff is unknown to
                          17 Plaintiff and cannot be ascertained without an accounting of the income and gross
                          18 profits Defendants have obtained through their illegal conduct as alleged in this
                          19 Complaint. Therefore, Plaintiff is entitled to a full accounting.
                          20                                   NINTH CAUSE OF ACTION
                          21                                    RICO – 18 U.S.C. § 1962(c)
                          22                            (Against Defendants Kazemipour and 1792)
                          23                209. Plaintiff repeats and realleges all of the allegations contained in
                          24 Paragraphs 1 through 208, inclusive, of his Complaint and by reference thereto
                          25 incorporates them herein as though set forth in full.
                          26                210. At all times, Defendant Kazemipour directed and operated the affairs of
                          27 Defendant 1792. Defendant Kazemipour knowingly implemented the decisions for
                          28 Defendant 1792 and was indispensable in achieving Defendant 1792’s goals.
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                                1 Defendant Kazemipour occupied a position in the chain of command within
                                2 Defendant 1792 as he was and is the managing director and Chief Executive Officer.
                                3           211. At all times, Defendant Kazemipour acted as Defendant 1792’s
                                4 corporate representative and exercised authority to enter into contracts and sign
                                5 documents on behalf of Defendant 1792.
                                6           212. Defendant 1792 is a RICO enterprise because it is a business
                                7 association.
                                8           213. Defendant Kazemipour engaged in a pattern of at least two or more acts
                                9 of racketeering activity within ten years of each other. The predicate acts engaged in
                          10 by Defendant Kazemipour are both related and continuous acts of racketeering
                          11 activity.
                          12                214. Defendant Kazemipour engaged in racketeering activity because
                          13 Defendant Kazemipour engaged in both wire fraud and money laundering.
                          14                215.    Defendant Kazemipour engaged in wire fraud because Defendant
                          15 Kazemipour knowingly participated in, devised, and intended to devise a scheme or
                          16 plan to defraud, or a scheme or plan for obtaining money or property by means of
                          17 false or fraudulent pretenses, representations, promises, or omitted facts. Defendant
                          18 Kazemipour issued deceitful statements of half-truths which constituted false and
                          19 fraudulent representations.
                          20                216. Statements made by Defendant Kazemipour and facts omitted as part of
                          21 the scheme were material; that is, they had a natural tendency to influence, or were
                          22 capable of influencing, Plaintiff to part with money or property.
                          23                217. Defendant Kazemipour acted with the intent to defraud, that is, the
                          24 intent to deceive and cheat.
                          25                218. Defendant Kazemipour used or caused to be used an interstate wire
                          26 communication to carry out an essential part of the scheme because Defendant
                          27 Kazemipour used cellular telephone communications, electronic mail, and cellular
                          28 phone text messages to carry out the essential parts of his scheme.
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                                1           219. Defendant Kazemipour had a duty to disclose material facts to Plaintiff
                                2 about his intended use of the funds deposited into the Joint Investment Account and
                                3 Joint Amex Account by Plaintiff because Defendant Kazemipour owed Plaintiff a
                                4 fiduciary duty since Defendant Kazemipour was the managing director of Defendant
                                5 1792 and a partner in the limited partnership with Plaintiff. Defendant Kazemipour
                                6 also acted for the purported benefit of Plaintiff through his informal trusting
                                7 relationship with Plaintiff, where Defendant Kazemipour was supposed to act for the
                                8 benefit of Plaintiff and induced Plaintiff to relax the care and vigilance that Plaintiff
                                9 would ordinarily exercise.
                          10                220.    Defendant Kazemipour had a duty to disclose material facts to Plaintiff
                          11 about his intended use of the Joint Amex Account and paying off the Joint Amex
                          12 Account with funds deposited by Plaintiff because Defendant Kazemipour owed
                          13 Plaintiff a fiduciary duty since Defendant Kazemipour was the managing director of
                          14 Defendant 1792 and a partner in the limited partnership with Plaintiff. Defendant
                          15 Kazemipour also acted for the purported benefit of Plaintiff through his informal
                          16 trusting relationship with Plaintiff, where Defendant Kazemipour was supposed to
                          17 act for the benefit of Plaintiff and induced Plaintiff to relax the care and vigilance
                          18 that Plaintiff would ordinarily exercise.
                          19                221. It was reasonably foreseeable to Defendant Kazemipour that some wire
                          20 communication would occur in furtherance of his scheme to defraud Plaintiff, and it
                          21 was reasonably foreseeable that Defendant Kazemipour would use a wire.
                          22                222. Defendant Kazemipour engaged in money laundering because
                          23 Defendant Kazemipour knowingly engaged in monetary transactions.
                          24                223.    Defendant Kazemipour knew the transactions involved criminally
                          25 derived property because Defendant Kazemipour himself lied to Plaintiff in order to
                          26 gain access to funds deposited in the Joint Investment Account. Defendant
                          27 Kazemipour also knowingly and unlawfully used funds in the Joint Investment
                          28 Account to pay off his unauthorized expenditures on the Joint Amex Account.
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                                1           224. The property involved in these transactions had a value greater than
                                2 $10,000.00. Defendant Kazemipour unlawfully withdrew more than $10,000.00
                                3 from the Joint Investment Account. Defendant Kazemipour unlawfully used funds
                                4 exceeding $10,000.00 from the Joint Investment Account to pay off unauthorized
                                5 personal expenses incurred on the Joint Amex Account.
                                6           225. The property was, in fact, derived from Defendant Kazemipour’s: 1)
                                7 unlawful conversion and withdrawals from the Joint Investment Account procured
                                8 from Defendant Kazemipour’s fraudulent representations; and 2) Defendant
                                9 Kazemipour’s unlawful conversion and use of funds from the Joint Investment
                          10 Account to pay for Defendant Kazemipour’s personal expenses incurred by
                          11 Defendant Kazemipour on the Amex account.
                          12                                        PRAYER FOR RELIEF
                          13                WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
                          14                1.      For an order requiring Defendants, and each of them, to show cause, if
                          15 any they have, why they should not be enjoined as set forth above, during the
                          16 pendency of this action;
                          17                2.      For a temporary restraining order, a preliminary injunction, and a
                          18 permanent injunction, all enjoining Defendants from engaging in further acts that
                          19 violate Business and Professions Code section 17200 et. seq., and from engaging in
                          20 the sale, transfer, or other disposition or concealment of assets or business documents
                          21 or records so that the Court will have the ability to grant effective final relief in the
                          22 form of permanent injunctive relief, rescission, restitution, disgorgement, or other
                          23 equitable monetary relief;
                          24                3.      For trebled damages in an amount to be proven at trial;
                          25                4.      For all compensatory damages in an amount to be proven at trial;
                          26                5.      For all consequential damages in an amount to be proven at trial;
                          27                6.      For reasonable attorney’s fees in an amount to be proven at trial;
                          28                7.      For Plaintiff’s costs incurred in an amount to be proven at trial;
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                                1           8.      For exemplary and punitive damages in an amount to be proven at trial;
                                2 and
                                3           9.      For any other and further relief as the court may deem proper.
                                4
                                5 DATED: April 19, 2022                      BUCHALTER
                                                                             A Professional Corporation
                                6
                                7
                                                                             By: /s/Brian C.P. Adkins
                                8                                                        BRIAN C.P. ADKINS
                                                                                       CHARLES F. WHITMAN
                                9                                                        Attorneys for Plaintiff
                                                                                            REZA TIRGARI
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                                1                            DEMAND FOR JURY TRIAL
                                2 Under Fed.R.Civ.P.38, Plaintiff demands a trial by jury on all issues so triable.
                                3
                                4 DATED: April 19, 2022                   BUCHALTER
                                                                          A Professional Corporation
                                5
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                                                                          By: /s/Brian C.P. Adkins
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